Case: 5:13-cv-02113-BYP Doc #: 59 Filed: 05/29/15 1 of 1. PageID #: 1054




 PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



 ROBBINS COMPANY,                               )
                                                )     CASE NO. 5:13cv2113
                Plaintiff,                      )
                                                )
                v.                              )     JUDGE BENITA Y. PEARSON
                                                )
 HERRENKNECHT TUNNELLING                        )
 SYSTEMS USA, INC.,                             )
                                                )
                Defendant.                      )     JUDGMENT ENTRY



        Having resolved all motions, claims and counterclaims in the instant case, the Court

 hereby terminates the case.



        IT IS SO ORDERED.


  May 29, 2015                                /s/ Benita Y. Pearson
 Date                                        Benita Y. Pearson
                                             United States District Judge
